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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CRUM & FORSTER SPECIALTY                          CIVIL ACTION
INSURANCE COMPANY,
               Plaintiff,

              v.
                                                  NO.   20-1608
AMERICAN DIAMOND BUILDERS, INC.
               Defendant.


                                     ORDER


     AND NOW, this       31st   day of July, 2020, upon consideration

of the Motion of Raymond Marasheski to Intervene and for the

Court to Stay the Matter (Doc. No. 3) and Plaintiff Crum &

Forster Specialty Insurance Company’s Opposition (Doc. No. 4),

it is hereby ORDERED that Defendants’ Motion (Doc. No. 3) is

DENIED.




                                             BY THE COURT:




                                             s/ J. Curtis Joyner
                                             ___________________________
                                             J. CURTIS JOYNER,       J.




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